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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CRIMINAL NO. 23-cr-239 (CKK)
                                              :
ILYA LICHTENSTEIN, et al.,                    :
                                              :
                       Defendants.            :

                        MOTION TO CORRECT CLERICAL ERROR

       The United States of America, by and though the United States Attorney for the District of

Columbia, respectfully moves this Court pursuant to Fed. R. Crim. P. 36 to correct two scrivener’s

errors in the Second Amended Preliminary Order of Forfeiture entered in the above-referenced

case, ECF No. 178.

       1.      On November 14, 2024, the Court sentenced defendant Ilya Lichtenstein. At

sentencing, the Court entered the Second Amended Preliminary Order of Forfeiture, which is

applicable against both defendants, with the consent of counsel for Mr. Lichtenstein and counsel

for defendant Heather Morgan, who was also present at the hearing and indicated his consent on

behalf of Ms. Morgan.

       2.      On November 18, 2024, the Court sentenced Ms. Morgan.

       3.      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the Second Amended Preliminary Order

of Forfeiture became final as to each defendant at sentencing. The order “remains preliminary as

to third parties until the [third-party] ancillary proceeding is concluded under Rule 32.2(c).” Fed.

R. Crim. P. 32.2(b)(4)(A).

       4.      In preparing for direct and publication notice to third parties pursuant to Fed. R.

Crim. P. 32.2(b)(6), the government discovered two scrivener’s errors in the descriptions of

property subject to forfeiture. First, item l inadvertently double-counted the seizure of 11.2451



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Ether (ETH) that was also included in the larger pools of seized ETH listed in item gg. Second,

item gg inadvertently transposed two digits, erroneously listing 1,019.23 ETH when the correct

value was 1,091.23 ETH.

       5.      These scrivener’s errors reflected errors in how the seized properties were

described. They did not affect the substance of the defendants’ forfeiture obligations.

       6.      Pursuant to Fed. R. Crim. P. 36, “[a]fter giving any notice it considers appropriate,

the court may at any time correct a clerical error in a judgment, order, or other part of the record,

or correct an error in the record arising from oversight or omission.” See United States v. Powell,

266 F. App’x 263, 266 (4th Cir. 2008) (“The errors most commonly subject to correction under

Rule 36 are thus recording or scrivener’s errors that make a difference. Thus, Rule 36 has been

employed to amend a judgment to include an obviously omitted forfeiture order, or to correct a

judgment that erroneously cited the controlling statute, or to correct the amount of a restitution

ordered by the court, or to correct a judgment to refer to a lesser included offense to which the

defendant pleaded guilty, rather than to the charge contained in the indictment.”) (citations

omitted).

       7.      The government moves for entry of the attached Corrected Second Amended

Attachment A, which corrects the two scrivener’s errors noted above but is otherwise identical to

the order entered at sentencing.

       8.      Counsel for both defendants have been notified regarding the entry of the Corrected

Second Amended Preliminary Order of Forfeiture.




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                               Respectfully submitted,
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